
719 S.E.2d 620 (2010)
STATE
v.
Kenneth Bernard DAVIS.
No. 114A10-1.
Supreme Court of North Carolina.
December 15, 2010.
Bryan Gates, Winston-Salem, for Kenneth Bernard Davis.
E. Burke Haywood, Special Deputy Attorney General, for State of NC.
Kenneth Davis, Polkton, for Kenneth Bernard Davis.
Peter S. Gilchrist, III, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 24th of March 2010 by Defendant-Appellant to File Motion for Appropriate Relief Pursuant to The All Writs Act:
"Motion Dismissed by order of the Court in conference this the 15th of December 2010."
